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10   Attorneys for Defendant Paul Penzone
11                            UNITED STATES DISTRICT COURT
12                                   DISTRICT OF ARIZONA
13    Manuel De Jesus Ortega Melendres,        No. CV-07-2513-PHX-GMS
      on behalf of himself and all others
14                                             DEFENDANT PAUL PENZONE’S NOTICE
      similarly situated; et. al,
15                                             OF PUBLICATION OF TRAFFIC STOPS
                       Plaintiffs,             ANALYSIS REPORT FOR JANUARY 2021
16                                             THROUGH DECEMBER 2021
17    and

18    United States of America,
19
                       Plaintiff-Intervenor,
20    v.
21    Paul Penzone, in his official capacity
22    as Sheriff of Maricopa County,
      Arizona, et. al.,
23
                       Defendants.
24

25
            Sheriff Paul Penzone hereby notifies the Court that the Traffic Stops Analysis Report
26
     for January 2021 through December 2021 (“Report”) was published and publicly available
27

28   on the Sheriff’s Office’s Bureau of Internal Oversight website (mcsobio.org) beginning June


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1    30, 2022. A full and complete copy of the Report and its appendices is attached hereto as
2    Exhibit A. A full and complete copy of the Sheriff’s Statement is attached hereto as Exhibit
3
     B.
4
               RESPECTFULLY SUBMITTED this 13th day of July, 2022.
5

6                                                                         RACHELL H. MITCHELL
                                                                          MARICOPA COUNTY ATTORNEY
7
                                                                          BY: /s/ Joseph I. Vigil
8                                                                             JOSEPH I. VIGIL, ESQ.
                                                                              JOSEPH J. BRANCO, ESQ.
9
                                                                              Attorneys for Defendant Paul Penzone
10

11                                                     CERTIFICATE OF SERVICE
12
            I hereby certify that on July 13, 2022, I caused the foregoing document to be
13   electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
     served on counsel of record via the Court’s CM/ECF system.
14

15   /s/J. Christiansen
     S:\CIVIL\CIV\Matters\CJ\2007\Melendres CJ07-0269\Pleadings\Word\Notice re Publication TSAR6 Jan 2020 to Dec 2020_Final 06082021.docx

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